     Case 3:25-cv-00335-ECC-ML            Document 2-6       Filed 03/15/25   Page 1 of 1




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

 MOMODOU TAAL, MŨKOMA WA NGŨGĨ,
 and SRIRAM PARASURAMA,
                        Plaintiffs,                                3:25-cv-335 (ECC/ML)
                                                        Case No.
        v.
                                                        [PROPOSED] ORDER GRANTING
                                                        PLAINTIFFS’ MOTION FOR A
                                                        TEMPORARY RESTRAINING
 DONALD J. TRUMP, in his official capacity as
                                                        ORDER
 President of the United States; U.S.
 DEPARTMENT OF HOMELAND SECURITY;
 and KRISTI NOEM, in her official capacity as
 Secretary of the U.S. Department of Homeland
 Security;


                        Defendants.



       Having considered Plaintiffs’ submissions and applicable law, the Court GRANTS

Plaintiffs’ motion for a temporary restraining order.

       IT IS SO ORDERED.



 DATED: _____________________                     _______________________________
                                                  NAME
                                                  UNITED STATES DISTRICT JUDGE
